           Case 1:21-cr-00028-APM Document 834 Filed 01/19/23 Page 1 of 2




 IN THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF COLUMBIA
                                      Dun & Bradstreet #611934746


UNITED STATES OF AMERICA
       Dun & Bradstreet # 052714196           )
      --                                      )         CRIMINAL NO. 21-CR-028 (APM)
                                              )
                                              )
:james beeks:,                                )

      Accused.

                               NOTICE OF FILING DOCUMENTS

      COMES NOW, Accused, James Beeks, a man, by special appearance

presenting his own action, and notifies this Court of documents to be electronically

filed on the record in the above captioned matter. Registered copies of the same

have been sent to the Court.


                                              Respectfully Submitted



                                              ____/s/_James Delisco Beeks©
                                              James-Delisco:Beeks
                                              Sui Juris

                                              Filed by: Nicole Cubbage

                                              ________/s/_Nicole Cubbage
                                              Nicole Cubbage
                                              DC Bar No. 999203
                                              712 H. Street N.E., Unit 570
                                              Washington, D.C. 20002
                                              703-209-4546


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       Case 1:21-cr-00028-APM Document 834 Filed 01/19/23 Page 2 of 2




                                        cubbagelaw@gmail.com
                                        Standby Attorney for James Beeks

                                 Certificate of Service
I certify that a copy of the forgoing was filed electronically for all parties of record
                           on this19th day of January, 2023
                                  ____/s/__________
                                    Nicole Cubbage
                          Standby Attorney for James Beeks




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